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Exhibit A
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Address

Position

Education

References

Fellowships/Awards

 

WILLIAM A. DEMBSKI
Curriculum Vitae
January 2004

Baylor University * P.O. Box 7130 * Waco, TX 76798 « tel 254-710-4928 (office) «
fax 254-710-4713 * email: nospam(@baylor.edu (substitute “William_Dernbski” for
“nospam'") * personal website: www.designinference.com

Associate Research Professor in the Conceptual Foundations of Science with the
Baylor University’s Institute for Faith and Learning: Semor Fellow with Discovery
Institute’s Center for Science and Culture: Executive Director of the International
Society for Complexity, Information, and Design (www. iscid.org)

Ph.D. philosophy University of Ilinois at Chicago 1996
M.Div. theology Princeton Theological Seminary 1996
M.A. philosophy University of Hhnois at Chicago {993
Ph.D. mathematics University of Chicago 1988
S.M. mathematics University of Chicago 1985
M.S. statistics University of [hnots at Chicago 1983
B.A. psychology University of Iilmois at Chicago 1981

William Abraham—Professor of Theology (wabraham@post.cis.smu.edu)
Perkins School of Theology, SMU, Dallas, Texas
Michael Behe—Professor of Biochemistry (mjb|@lehigh.edu)
Dept. of Biology, Lehigh University, Bethlehem, Pennsylvania
Robert Kaita—Principal Research Physicist (kaita@pppl.gov)
Princeton Plasma Physics Laboratory, Princeton, New Jersey
Robert Koons---Professor of Philosophy (rkoons(@mail.utexas.edu)
Dept. of Philosophy, University of Texas, Austin, Texas

 

Texas A&M's Trotter Prize, shared with Stuart Kauffman, April 2005
Past recipients: Charlie Townes and Francis Crick (2002)
Alan Guth and John Polkinghorne (2003)
Paul Davies and Robert Shapiro (2004)
Intelligent Design Network's Wedge of Truth Award, 2004
for promoting intelligent design (past recipients include Michael Behe)
Templeton Foundation Book Prize ($100,000)
for writing book on information theory, 2000-2001
Discovery Institute Fellowship
for research in intelligent design, 1996-1999
Notre Dame Postdoctoral Fellowship (Department of Philosophy)
for philosophy of religion, 1996-1997
University of Illinois at Chicago, Outstanding Dissertation Award in
Fine Arts and Humanities for The Design Inference; published
subsequently September 1998 with Cambridge University Press
Pascal Centre Research Fellowship
for studies in science and religion, 1992-1995
Northwestern University Postdoctoral Fellowship (Department of Philosophy)
for history and philosophy of science, 1992-1993
National Science Foundation Postdoctoral Fellowship
for mathematics, 1988-1991
McCormick Fellowship (University of Chicago)
for mathematics, 1984-1988
National Science Foundation Graduate Fellowship
for psychology and mathematics, 1982-1985
Nancy Hirshberg Memorial Prize for best undergraduate research paper
in psychology at the University of Illinois at Chicago, 1981.
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Academic Experience

Professional Associations

Books

Curriculum Vitae « William A. Dembski

Carl F. H. Henry Professor of Theology and Science, Southern Baptist
Theological Seminary, Louisville, starting June 2005

Associate Research Professor, Conceptual Foundations of Science, Baylor University
research in intelligent design, 1999--May 2005

Fellow, Discovery Institute, Center for the Renewal of Science and Culture
research in complexity, information, and design, 1996—present

Adjunct Assistant Professor, University of Dallas, Department of Philosophy
teaching mtroduction to philosophy, 1997-1999

Postdoctoral Fellow, University of Notre Dame, Department of Philosophy
teaching philosophy of religion + research, 1996-1997

Independent Scholar, Pascal Centre, Hamilton, Ontario, Canada
research tn complexity, information, and design, 1993-1996

Postdoctoral Fellow, Northwestern University, Department of Philosophy
teaching philosophy of science + research, 1992-1993

Research Associate, Princeton University, Department of Computer Science
research in cryptography & complexity theary, 1990

Postdoctoral Visiting Fellow, University of Chicago, James Franck Institute
research in chaos & probability, 1989

Postdoctoral Visiting Fellow, MIT, Department of Mathematics
research in probability theory, 1988

Lecturer, University of Chicago, Department of Mathematics
teaching undergraduate mathematics, 1987-1988

Discovery Institute—senior fellow
Wilberforce Forum—-senior fellow

International Society for Cornplexity, Information, and Design
-—~executive director

Progress in Complexity, Information, and Design~-genera] editor
Foundation for Thought and Ethics--- academic editor

American Mathematical Society

Evangelical Philosophical Society

American Scientific Affiliation

The Design of Life: Discovering Signs of intelligence in Biological Systems (biology
textbook coauthored with Michael Behe, Jonathan Wells, Percival Davis,
and Dean Kenyon). Dallas.: Foundation for Thought and Ethics,
forthcoming 2005.

The Design Revolution: Answering the Toughest Questions about Intelligent Design.
Downer’s Grove, ILL: InterVarsity Press, 2004.

No Free Lunch: Why Specified Complexity Cannot Be Purchased without
Intelligence. Lanham, Md.: Rowman & Littlefield, 2002.

Science and Evidence for Design in the Universe, Proceedings of the Wethersfield
Institute, vol. 9 (coauthored with Michael J. Behe and Stephen C. Meyer).
San Francisco: Ignatius Press, 2000.

Intelligent Design: The Bridge between Science and Theology. Downer’s Grove, IIL:
InterVarsity Press, 1999. [Award: Christianity Today's Book of the Year in
the category “Christianity and Culture.” Translated into Finnish and
Korean. Translation into Spanish in preparation.]

The Design Inference: Eliminating Chance through Small Probabilities. Cambridge:
Cambridge University. Press, 1998. [CUP’s best-selling philosophical
monograph. ]

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Edited Collections

Books in Preparation

Publications

work in progress

under submission

Curriculum Vitae « William A. Dembski

Debating Design: From Darwin to DNA (co-edited with Michael Ruse). Cambridge:
Cambridge University Press, 2004.

Uncommon Dissent: Intellectuals Wha Find Darwinism Unconvincing. Wilmington,
Del.: Intercollegiate Studies Institute, 2004.

Signs of Intelligence: Understanding Intelligent Desiga (co-edited with James
Kushiner). Grand Rapids, Mich.: Brazos Press, 2001. [Translation into
Indonesian in preparation. ]

Unapologetic Apologetics: Meeting the Challenges of Theological Studies (co-edited
with Jay Wesley Richards: selected papers from the Apologetics Seminar at
Princeton Theological Seminary, 1995-1997). Downer’s Grove, IIL:
Inter Varsity Press, 2001.

Mere Creation: Science, Faith, and Intelligent Design (proceedings of a conference
on design and origins at Biola University, 14-17 November 1996).
Downer’s Grove, Tl.: InterVarsity Press, 1998.

Freeing Inquiry from Ideology: A Michael Polanyi Reader, co-edited with Bruce
Gordon; an anthology of Michael Polanyi’s writings, book under contract
with InterVarsity Press.

Being as Communion: The Metaphysics of Information, Templeton Book Prize
project, book under contract with Ashgate publishers for series in science
and religion.

A Man for This Season: The Phillip Johnson Celebration Voiume (co-edited with Jed
Macosko, Festschrift collection in honor of Phillip Johnson), accepted for
publication with InterVarsity.

The End of Christianity, book under contract with Broadman & Holman.

The Mathematical Foundations of Intelligent Design, Technical research
monograph.

The Nature of Nature, co-edited with Bruce Gordon, conference retrospective on the
Nature of Nature conference at Baylor, 12-15 April 2000, book award
through Grace Valley Christian Center, Davis, California.

The End of Materialism, co-edited collection with Jeffrey Schwartz and Mario
Beauregard.

The Patristic Understanding of Creation, co-edited with Brian Frederick, anthology
of writings from the Church Fathers on creation and design.

Series of technical mathematical articles collected together under the rubric The
Mathematical Foundations of Intelligent Design. Topics to include
variational mformation (relevant article presently under submission),
uniform probability, displacement/no free lunch theorems, Bayesian
methods, Fisherlan methods, specification, universal probability bounds,
specified complexity, configurational entropy, and conservation of
information/fourth law of thermodynamics.

“In Defense of Intelligent Design,” The Oxford Handbook of Religion and Science,
edited by Philip Clayton.

“Information as a Measure of Variation.” Complexity. Available online at
www.designinference.com.
Case 4:04-cv-02688-JEJ Document 200-4 Filed 09/21/05 Page 5 of 13

forthcoming

2004

2003

Curriculum Vitae « William A. Dembski

“Intelligent Design.” In The Encyclopedia of Religion, 2nd edition, edited by
Lindsay Jones. New York: Macmillan, forthcoming.

“Transcendence.” New Dictionary of Christian Apologetics (British Inter Varsity),
available online at www.designinference.com.

“Does the Design Argument Show There [s a God?” In The Apologetics Study Bible,
general editor Ted Cabal. Nashville, Tenn.: Broadman & Holman,
forthcoming.

“Irreducible Complexity Revisited.” Progress in Complexity, Information, and
Design.

“Reflections on Human Origins,” Progress in Complexity, Information, and Design.

“Dealing with the Backlash against Intelligent Design.” In William A. Dembski and
Jed Macosko, eds. 4 Man for This Season: The Phillip Johnson
Celebration Volume. Downers Grove, IIL: InterVarsity.

“Everything that Rises Must Converge,” review of Simon Conway Morris‘s book
Life's Solution: Inevitable Humans in a Lonely Universe, Books & Culture
(Nov/Dec 2004): 42.

“An Information-Theoretic Design Argument,” in Francis Beckwith, William Lane
Craig, and J. P. Moreland, eds., To Evervone and Answer: A Case for the
Christian Worldview (volume in honor of Norman Geisler), 77-94.
Downers Grove, Ill.: InterVarsity, 2004.

“The Myths of Darwinism.” In Uncommon Dissent: Intellectuals Who Find
Darwinism Unconvineing.

“The Logical Underpinnings of Intelligent Design.” In Dehating Design: From
Darwin to DNA.

“The New Age of Information,” World Magazine, 3 April 2004: 45-47. Available
online at www.designinference.com/documents/2004.04.Darwins_Meltdown.him.

Foreword to Geoffrey Simmons’s What Darwin Didn't Know. Eugene, Oregon:
Harvest House, 2004.

“Five Questions Evolutionists Would Rather Dodge,” Citizen Magazine, web
version, April 2004: http:/Awww.tamily.org/cforum/citizenmag/webonly/
a003 1659.cfm. Unedited version available at www.designinference.com.

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“Response to Paul Gross,” Science Insights, November 2003: 10-14. Available
online at http://www.nas.org/publications/sci_newslist/7_5/7-5_letters.pdf.

“Skepticism’s Prospects for Unseating Intelligent Design.” In Paul Kurtz, ed.,
Science and Religion: Are They Compatible? Amherst, N.Y. Prometheus
Books, 2003.

Five entries in the Macmillan Encyclopedia of Science and Religion, 2003, edited by
Wentzel van Huyssteen: “Algorithm,” “Algorithmic Complexity,”
“Boundary Conditions,” “Dissipative Structures,” and “Teleological
Argument.”

“Intelligent Design Theory.” In Religion in Geschichte und Gegenwart, 4th edition,
edited by Hans Dieter Betz, Don S$. Browning, Bernd Janowski, Eberhard
Jiingel. Titbingen: Mohr Siebeck. 2003.

“The Act of Creation: Bridging Transcendence and Immanence.” In Mehrdad M.
Zarandi, ed., Science and the Myth of Progress. Bloomington, Ind.: World
Wisdom, 2003.

“Challenging Materialism’s Chokehold on Science” (book review of Jeffrey
Schwartz and Sharon Begley’s The Mind and the Brain). First Things no.
103, 2003: http://www. firstthings.com/ftissues/ft0305/reviews/dembski.html. Un-
edited review at www.designinference.com.

“The Chance of the Gaps.” In Neil Manson, ed., God and Design: The Teleological
Argument and Modern Science (London: Routledge, 2002), 251-274.
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2002

2001

Curriculum Vitae «» William A. Dembski

“Can Evolutionary Algorithms Generate Specified Complexity?” In From
Complexity to Life: On the Emergence of Life and Meaning, edited by Niels
H. Gregersen, foreword by Paul Davies (Oxford: Oxford University Press,
2002), 93-113.

“The Design Argument,” in Science and Religion: A Historical Introduction, edited
by Gary B. Ferngren (Baltimore: Johns Hopkins Press, 2002), 334-344 .

“Detecting Design in the Natural Sciences,” Natural History 111(3). April 2002: 76.

“How the Monkey Got His Tail,” Books & Culture, November/December 2002; 42
(book review of S. Orzack and E. Sober, Adaptationism and Optimality).

MESA (Monotonic Evolutionary Simulation Algorithm). A Java program by
William Dembski, John Bracht, and Micah Sparacio that models
evolutionary searches and employs monotonic smooth fitness gradients. Its
aim is to determine the degree to which fitness perturbation and variable
coupling impede evolutionary searches. Available at www.iscid.org/mesa.

“Can Functional Logic Take the Place of Intelligent Design’? Response to Walter
Thorson.” Perspectives on Science and Christian Faith 54(1) (2002): 22-23.

“Not Taking Information Seriously Enough.” Review of James E. Huchingson,
Pandemonium Tremendum: Chaos and Mystery in the Life of God
(Cleveland: Pilgrim Press. 2001). Appeared in Princeton Theological
Seminary Bulletin 23(1) (2002): 114-116. Available online at
www.designinference.com.

“Darwin's Predictable Defenders: A Response to Massimo Pigliucci.” Christian
Research Journal 25(1) 2002: available online at http:/Awww-equip.
org/free/DS701 pdf. One of four essays as part of “Science and Religion
2002: A Response to Skeptical Inquirer.”

“Why Natural Selection Can’t Design Anything,” Progress in Complexity,
Information, and Design 1(1), 2002:
http://iscid.org/papers/Dembski_WhyNatural_ 112901 pdf.

“Random Predicate Logic l: A Probabilistic Approach to Vagueness,” Progress in
Complexity, Information, and Design (2-3), 2002:
http:/Avww.iscid.org/papers/Dembski_RandomPredicate_072402.pdf.

“Another Way to Detect Design?” Progress in Complexity, Information, and Design
1(4), 2002:
http://iscid.org/papers/Dembski_DisciplinedScience_ 102802. pdf.

“Evolution’s Logic of Credulity: An Unfettered Response to Allen Orr,” Progress in
Complexity, Information, and Design \(4), 2002:
http://www.iscid.org/papers/Dembski_ResponseToOrr_ 010703 pdf

“What Have Butterflies Got to Do with Darwin?” Review of Berard d’Abrera’s
Concise Atlas of Butterflies. Progress in Complexity, Information, and
Design 1(1), 2002:
http:/Awww.iscid.org/papers/Dembski BR Butterflies 122101.pdFf.

“Refuted Yet Again!” A reply to Matt Young published with metanexus.net. (Y oung
has since co-edited a collection titled Why Intelligent Design Fails with
Rutgers University Press, 2004). Article available online at
www .designinference.com.

Foreword to Benjamin Wiker’s Moral Darwinism: How We Became Hedonists.
Downers Grove, IIL: InterVarsity Press, 2002.

Foreword to Peter 8. Williams’s The Case for Angels. Carlisle, UK: Paternoster
Press, 2002.

“Where Do We Go From Here.” Perspectives on Science and Christian Faith 53(4),
December 2001: 283-291 (with Paul Anderson, Loren Haarsma, and Susan
Drake Emmerich; transcript of panel discussion at Mundelein conference,
2000, titled Asking the Right Questions).

“The Possibility of Detecting Intelligent Design.” Mathematics in a Postmodern
Age: A Christian Perspective, edited by James Bradley and Russell Howell
(Grand Rapids, Mich.: Eerdmans, 2001), 278-308.
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2000

1999

Curriculum Vitae « William A. Dembski

“The Pragmatic Nature of Mathematical Inquiry.” Mathematics in a Postmodern
Age: A Christian Perspective, edited by James Bradley and Russell Howell
(Grand Rapids, Mich.: Eerdmans, 2001}, 98-130.

“Detecting Design by Eliminating Chance: A Response to Robin Collins.” In
Christian Scholar’s Review 30(3), Spring 2001: 343-357.

“Intelligent Design Coming Clean.” Montville. N.J.: Digital Publishing Solutions,
2001, [Originally published through Metanexus.net.]

“Is Intelligent Design a Form of Natural Theology?” Published with metanexus.net.
Available at www.designinference.com.

“What Have Butterflies Got to Do with Darwin?” Review of Bernard d’Abrera’s The
Concise Atlas of Buuerflies of the World (London: Hill House, 2001).
Published with metanexus.net.

Foreword to Neil Broom’s How Blind fs the Watchmaker’. Downers Grove, IIL:
{nterVarsity Press, 2001.

“Naturalism and Design.” In Naturalism: A Critical Analysis, edited by William
Lane Craig and J. P. Moreland (London: Routledge, 2000).

“Conservatives, Darwin & Design: An Exchange” (co-authored with Larry Arnhart
and Michael J. Behe). First Things no. 107 (November 2000): 23-31.

“The Third Mode of Explanation.” In Science and Evidence for Design in the
Universe.

“Mechanism, Magic, and Design,” Christian Research Journal 23(2) 2000: available
online at http:/Awww.equip.org/free/DM808 htm.

“What Can We Reasonably Hope For? ~~ A Millennium Sympostum.” First Things
no. 99, January 2000: 19--20.

“Who's Got the Magic.” Response to Robert Pennock, published initially at
metanexus.net. Reprinted without permission in Robert Pennock, ed.,
Intelligent Design Creationism and Is Critics: Philosophical, Theological,
and Scientific Perspectives (Cambridge, Mass.: MIT Press, 2001), 639-644.

“Disbelieving Darwin—And Feeling No Shame!” Published initially at
metanexus.net, available at www.designinference.com. Revised version
published as “Shamelessly Doubting Darwin,” American Outlook
(November/December 2000): 22-24.

“Because It Works, That’s Why!” (review of Y. M. Guttmann’s The Concept of
Probability in Statistical Physics). Books & Culture, March/April 2000:
42-43,

“The Design Argument.” In The History of Science and Religion in the Western
Tradition: An Encyclopedia, edited by Gary B. Ferngren (New York:
Garland, 2000), 65~67.

“The Limits of Natural Teleology” (review of Robert Wright’s Nonzero. The Logic
of Human Destiny). First Things no. 105 (August/September 2000): 46—5 1.

“Intelligent Design Is Not Optimal Design.” Response to Francisco Ayala, posted
initially at metanexus.net. Available online at www.designinference.com.

 

“Signs of Intelligence: A Primer on the Discernment of Intelligent Design.”
Touchstone 12(4), 1999: 76-84.

“Are We Spiritual Machines?” First Things no. 96, October 1999: 25-31.

“Not Even False? Reassessing the Demise of British Natural Theology.” Philosophia
Christi 2nd series, 1(1), 1999: 17-43.

“The Last Magic™ (review of Mark Steiner's The Applicability of Mathematics as a
Philosophical Problem). Books & Culture, July/August 1999. [Award:
Evangelical Press Association, First Place for 1999 in the category “Critical
Reviews.”

“Thinkable and Unthinkable” (review of Paul Davies’s The Fifth Miracle). Books &
Culture, September/October 1999; 33-35,

“The Arrow and the Archer: Reintroducing Design into Science.” Science & Spirit
10(4), 1999( Nov/Dec}: 32-34, 42.
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1998

1997

1996

1995

1994

1991

Curriculum Vitae «© William A. Dembski

“Randomness.” In Routledge Encyclopedia of Philosophy, edited by Edward Craig.
London: Routledge, 1998.

“Reinstating Design within Science.” Rhetoric and Public Affairs 1(4), 1998: 503-
S18. Reprinted in John Angus Campbell and Stephen C. Meyer, eds.,
Darwinism, Design, and Public Education. East Lansing, Mich.: Michigan
State University Press, 2003: 403-417.

“Fruitful Interchange or Polite Chitchat? The Dialogue between Theology and
Science” (co-authored with Stephen C. Meyer). Zygon 33(3), 1998: 415~
430.

“Mere Creation.” In Mere Creation: Science. Faith. and Intelligent Design.

“Redesigning Science.” In Mere Creation: Science, Faith, and Intelligent Design.

“Science and Design.” First Things no. 86, October 1998: 21-27.

“Intelligent Design: The New Kid on the Block.” The Banner 133(6), 16 March
1998: 14-16.

“The Intelligent Design Movement.” Cosmic Pursuit 1(2), 1998: 22-26.

“The Bible by Numbers” (review of Jeffrey Satinover’s Cracking the Bibie Code).
First Things, August/September 1998 (no. 85): 61-64.

“Intelligent Design as a Theory of Information” (revision of 1997 NTSE conference
paper). Perspectives on Science and Christian Faith 49(3), 1997: 180-190.
Reprinted without permission in Robert Pennock, ed., Intelligent Design
Creationism and Its Critics: Philosophical, Theological, and Scientific
Perspectives (Cambridge, Mass.: MIT Press, 2001), 553-573.

“Christology and Human Development.” Foundations 5(1), 1997: 11-18.

“Schleiermacher’s Metaphysical Critique of Miracles.” Scottish Journal of Theology
49(4), 1996: 443-465.

“Transcendent Causes and Computational Miracles.” Io Interpreting God's Action in
the World (Facets of Faith and Science, valume 4), edited by J. M. van der
Meer. Lanham: The Pascal Centre for Advanced Studies in Faith and
Science/ University Press of America, 1996,

“The Problem of Error in Scripture.” Princeton Theological Review 3(1)(double
issuc}, 1996: 22-38.

“Teaching Intelligent Design as Religion or Science?” Princeton Theological Review
3(2), 1996: 14-18.

“The Paradox of Politicizing the Kingdom.” Princeton Theological Review
3(1)(double issue), 1996: 35-37.

“Alchemy, NK Boolean Style” (review of Stuart Kauffman’s At Home in the
Universe). Origins & Design 17(2), 1996: 30-32.

“What Every Theologian Should Know about Creation, Evolution, and Design.”
Princeton Theological Review 2(3), 1995: 15-21.

“The Fallacy of Contextualism.” Themelios 20(3), 1995: 8-11.

“The God of the Gaps.” Princeton Theological Review 2(2), 1995: 13-16.

“The Incompleteness of Scientific Naturalism.” In Darwinism: Science or
Philosophy? edited by Jon Buell and Virginia Hearn (Proceedings of the
Darwinism Symposium held at Southern Methodist University, 26-28
March 1992). pp. 79-94. Dallas: Foundation for Thought and Ethics, 1994.

“On the Very Possibility of Intelligent Design.” In The Creation Iypathesis, edited
by J. P. Moreland, pp. 113-138. Downers Grove: InterVarsity Press, 1994.

“Randomness by Design.” Nous 25(1), 1991: 75-106.
Case 4:04-cv-02688-JEJ Document 200-4 Filed 09/21/05 Page 9 of 13

1990

Professional Activities

2004

2003

Curriculum Vitae «» William A. Dembski

“Reviving the Argument from Design: Detecting Design through Small
Probabilities.” Proceedings of the 8th Biannual Conference of the
Association of Christians in the Mathematical Sciences (at Wheaton
College), 29 May — 1 June 1991: 101-145.

“Uniform Probability.” Journal of Theoretical Probability 3(4), 1990: 611-626.

“Reverse Diffusion-Limited Aggregation.” Journal of Statistical Computation and
Simulation 37(3&4), 1990: 23 1-234.

“Scientopoly: The Game of Scientism.” Epiphany Journal 10(1&2), 1990: 110-120.

“Converting Matter into Mind: Alchemy and the Philosopher’s Stone in Cognitive
Science.” Perspectives on Science and Christian Faith 42(4), 1990: 202-
226. Abridged version in Epiphany Journal \1(4), 1991: 50-76. My
response to subsequent critical comment: “Conflating Matter and Mind” in
Perspectives on Science and Christian Faith 43(2), 1991: 107-111,

“Inconvenient Facts: Miracles and the Skeptical Inquirer.” Philosophia Christi
(formerly Bulletin of the Evangelical Philosophical Societv) 13, 1990: 18—
45.

‘Doubts about Unintelligent Evolution,” Society of Christian Philosophers, invited
lecture, with Sahotra Sarkar as respondent, annual AAR meeting, San
Antonio, 22 November 2004.

“Darwin's Berlin Wall,” Evangelical Philosophical Society, invited plenary lecture
at annual ETS meeting, San Antonio, 18 November 2004.

Fall 2004: Lectures at University of New Mexico, Belhaven College. Wayne State
University, and Taylor University

“Intelligent Design: The State of the Research Program,” National Facuity
Leadership Conference, organized by Christian Leadership Ministries,
Washington, DC, 25 June 2004.

Lecture tour of Denmark: 10 May, University of Aarhus, Danish Science-Theology
Forum; | 1-12 May, University of Copenhagen, two lectures, Department of
Systematic Theology; 12 May, Technical University of Denmark, “The
Design Inference as an Extension of Fisherian Significance Testing”; 13
May, Niels Bohr Institute, “Intelligent Design and Self-Organization.”

Speaker and panelist, conference titled /ntelligent Design and the Future of Science,
Biola University, 22-24 April 2004.

Dual debates at UCLA as part of Veritas Forum, Jeffrey Schwartz and Wilham
Dembski vs. Michael Shermer and Niall Shanks respectively, taped 21
April 2004 and subsequently televised by CSPAN2.

“Mathematics as an Experimental Science,” talk given at Baylor conference titled
Christianity and the Soul of the University. Faith as a Foundation for
latellectual Community, 26 March 2004. Based on paper titled “The
Pragmatic Nature of Mathematical Inquiry,” in the edited collection by
James Bradley and Russ Howell.

Claremont-McKenna lectures on intelligent design. spring 2004 (featuring Michael
Behe, Eugenie Scott, and William Dembski). Dembski spoke on 2 Marcy
2004.

Lectures on intelligent design at UC Davis and Grace Valley Christian Center,
organized by Richard Spencer, 16-17 January 2004.

Lectures at Oxford University on intelligent design at the Jan Ramsey Centre and
Oxford Centre for Hindu Studies as well as to the Joseph Butler Society,
29--30 October 2003.

Extended academic debate over intelligent design with Michael Ruse, sponsored by
the Honors College at the University of Central Arkansas, 14-16 October
2003.
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2002

2001

Curriculum Vitac «, William A. Dembski

SETI Institute radio debate with Massimo Pigliucci, moderated by Seth Shostak, 12
October 2003.

“Infinite Universe or Intelligent Design?” Paper delivered at 2003 Accelerating
Change Conference at Stanford University, 13 September 2003. Available
online at www.designinference.com.

Participant, seminar on the role of technology in culture and society, organized by
Walter Bradley, Baylor University, 26 May — 6 June 2003.

“Making the Task of Theodicy Impossible? Intelligent Design and the Problem of
Evil.” invited paper delivered under the auspices of the Center for Theology
and the Natural Sciences (CTNS) at the Graduate Theological Union (GTU)
in Berkeley, 1 April 2003.

Speaking tour of Auckland, New Zealand, mcluding seminars on intelligent design
at the University of Auckland and various theological institutions, 10-19
March 2003.

“The Design Revolution.” Norton Lectures, Southern Baptist Theological Seminary,
Louisville, Kentucky, 11 & 12 February 2003. [endowed lectures]

Taping for JESUS Film Apologetics Version, Southern California, 15 January 2003.

Invited to speak on intelligent design at Southwest Texas State University (6
February), SMU (25 March), and University of Maine (9 April).

“ID’s Positive Contribution to Biology’s Information Problem,” The Jntelligent
Design Debate, symposium featuring also Michael Ruse, Larry Arnhart.
Michael Behe, Mano Singham, Niles Eldredge. Jonathan Wells, Hillsdale
College, 10-13 November 2002.

“Becoming a Disciplined Science: Prospects, Pitfalls, and Reality Check for ID,”
keynote address, RAPID Conference (Research and Progress in Intelligent
Design), Biola University, La Mirada, California, 25-27 October 2002.
Available online at www.designinference.com.

Debate titled “God or Luck: Creationism vs. Evolution,” with Steven Darwin,
professor of botany. Tulane University, New Orleans, 7 October 2002.
Frank Tipler organized this debate.

“Skepticism’s Prospects for Unseating Intelligent Design,” Fourth World Skeptics
Conterence, Prospects for Skepticism: The Next Twenty-Five Years,
Burbank, California, 20-23 June 2002. Sympostum debate with Paul Nelson
vs. Kenneth Miller and Wesley Elsberry.

Presenter on intelligent design, Jmago Dei AD 2002, conference sponsored by
Charles W. Colson and the Wilberforce Forum, Dallas, 15 June 2002.

“The Cultural Significance of Intelligent Design,” Imago Dei AD 2002:
incarnational Living in a Secular Society, sponsored by BreakPoint, Irving,
Texas, 15 June 2002.

“Does Evolution Even Have a Mechanism.” symposium on intelligent design
featuring also Michael Behe, Kenneth Miller, Robert Pennock, and Eugenie
Scott, American Museum of Natural History, New York, 23 April 2002.
Available online at http:/www.iscid.org/papers/Dembski_DoesEvolution_
050202 pdf. See also — http://www.actionbioscience.org/evolution/
niimag.btml.

“Blueprint for a Revolution,” Intelligent Design Conference, Palm Beach Atlantic
College, Palm Beach, Florida, 13-14 April 2002.

Canadian lecture tour on intelligent design (University of Guelph, University of
Toronto, and McMasters University), sponsored by the Canadian Scientific
and Christian Affihation, 6-8 March 2002.

“Intelligent Design.” Stalev Lectures, Anderson College, Anderson, South Carolina,
15 & 16 January 2002. [endowed lectures]

Founded with John Bracht and Micah Sparacio the International Society for
Complexity, Information, and Design (www. iscid.org).
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Program titled “Darwin under the Microscope,” PBS television interview for
Uncommon Knowledge with Peter Robinson facing Eugenie Scott and
Robert Russell, 7 December 2001.

Public discussion with Stuart Kauffman, “Order for Free vs. No Free Lunch,” Center
for Advanced Studies, University of New Mexico, 13 November 2001.

Debate with Michael Shermer, “Does Science Prove Gad?” Clemson University, 7
November 2001.

Debate with Massimo Pigliucci, “Is Intelligent Design Smart Enough?” New York
Academy of Sciences, | November 2001.

“Another Way to Detect Design?” “Why Natural Selection Can’t Design Anything,”
and “The Chance of the Gaps.” Three papers presented as keynote speaker
at Society of Christian Philosophers meeting, Boulder, Colorado, 4-6
October 2001.

Panel discussion on Houston PBS station regarding PBS evolution series, which
finished that night, 27 September 2001.

Presenter, on topic of detecting design, 23-27 July 2001 at Wycliffe Hall, Oxford
University in the John Templeton Oxford Seminars on Science and
Christianity.

Focus on the Family broadcast taping with James Dobson, 6 July 2001.

Presenter, Darwin, Design & Democracy II, conference organized by the Intelligent
Design Network, Kansas City, Missouri, 29-30 June 2001.

“Intelligent Design as a Theory of Technological Evolution.” Interpreting Evolution,
AAAS conference at Haverford College, 14-19 Iune 2001. Paper available
online at www.designinference.com.

Participant, “Mathematical Modeling and Complexity Seminar,” organized by
Michael Veatch at Calvin College, 2~4 June 2001.

“The Probabilistic Detection of Design” and “New Directions in Information
Theory: From Shannon Information to Specified Complexity.” Keynote
talks at biannual meeting of the Association of Christians im the
Mathematical Sciences, Calvin College, 31 May — 2 June 2001.

Participant, Symposium on Design Reasoning, Calvin College, 22-23 May 2001.
Other participants were Stephen Meyer, Paul Nelson, Rob Koons, Del
Ratzsch, Robin Collins, Tim & Lydia McGrew. Tim will edited the
proceedings for an academic press.

Radio debate with Eugenie Scott, Diane Rehm Show, NPR, [8 April 2001 (in
response to James Glanz’s front page story on intelligent design in the New
York Times, 8 April 2001).

Invited to speak on intelligent design at University of Georgia (21-23 February),
University of South Carolina (1-3 April), UCSD (23-26 April), and SMU
(11 September), Texas A&M (18 September), Fort Lewis College,
Durango, Colorado (16 October)

“No Free Lunch: Why Specified Complexity Requires Intelligence.” Science and
Evidence for Design in the Universe. Conference at Yale University, 2-4
November 2000.

Panelist, “Where Do We Go From Here?” at conference sponsored by ASA, IVCF,
and Templeton in Mundelein, Illinois titled Asking the Right Questions:
Christian Faith and the Choice of Research Topic in the Natural and
Applied Sciences, 13-15 October 2000.

“Intelligent Design and the End of Reason,” Houston Christian Worldview
Conference, sponsored by Charles W. Colson and the Wilberforce Forum,
23 September 2000.

“Detecting Design in the Natural Sciences.” Talks presented at two conferences:
Design and Its Critics (Concordia University, Mequon, Wisconsin, 22~24
June 2000); ‘Intelligent Design’: Science and Theology in Consonance?
(University of New Brunswick, Fredericton, 15-16 September 2000).

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1999

1998

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Contributor, “Prospects for Post-Darwinian Science,” symposium, New College.
Oxford, August 2000. Other contributors included Michael Denton, Peter
Saunders, Mae-Wan Ho, David Berlinski, Jonathan Wells, Stephen Meyer,
and Simon Conway Morris.

Seminar Organizer, “Design, Self-Organization, and the Integrity of Creation,”
Calvin College Seminar im Christian Scholarship, 19 June — 28 July 2000.
Follow-up conference 24—26 May 2001 (speakers included Alvin Plantinga,
John Haught. and Del Ratzsch).

Intelligent design lecture tour of South Korea, sponsored by Manmin Church,
including lecture at Hankuk University of Foreign Studies on 17 May
(moderator: Kwang-youl Kim; interpreter: Joon-ha Hwang).

“Can Evolutionary Algorithms Generate Specified Complexity?” The Nature of
Nature. Conference on the role of naturalism in science, Baylor University,
12-15 April 2000.

The Nature of Nature, conference at Baylor University, 12-15 April 2000, organized
by WmAD and Bruce Gordon. For details, see:
http:/Awww .designinference.com/documents/2000.04.nature_of_nature.htm

“Intelligent Design: Yesterday's Orthodoxy, Today’s Heresy,” Evangelical
theological Society Southwest Regional Meeting, organized by Douglas
Blount at Southwestern Baptist Theological Seminary, 7 April 2000.

“Intelhgent Design: Bridging Science and Faith.” Staley Lectures, Union University.
Tennessee, 28 February — 1 March 2000. [endowed lectures]

Taught course on intelligent design, Trinity International University, Santa Ana,
Calif.. spring 2000.

Symposiast at Templeton sponsored Santa Fe conference organized by Paul Davies
titled Complexity, Information, and Design: A Critical Appraisal, 14-16
October 1999. Presented paper that in 2002 was published in an edited
collection by fellow symposiast Niels Gregersen (“Can Evolutionary
Algorithms Generate Specified Complexity?”).

Participant, Templeton sponsored conference titled Empathy, Altruism and Agape:
Perspectives on Love in Science and Religion at MIT, 1-3 October 1999,

“Detecting Design in Nature,” sympostum at NYU sponsored by the Homeland
Foundation, fall 1999.

“The Third Mode of Explanation: Distinguishing Design from Chance and
Necessity.” Roundtable discussion with Archbishop Joseph Zycinski,
University of Chicago, 22 April 1999,

“The Design Inference.” 140th Anniversary of Darwin's Origin of Species, Trinity
Graduate School, Fullerton, California, 13 March 1999,

Participant, Liberty Fund Colloquium, “Liberty and Responsibility in the Writings of
Charles Darwin,” Tucson, Arizona, 28-31 January 1999.

Invited to speak on intelligent design at Texas A&M (25-26 March, Walter Bradley,
organizer), Wheaton College (April), MIT (7 April), Tufts (8 April), John
Brown University (31 July, Amer. Sci. Aff. meeting), Texas Tech (29
October), GeorgiaTech (5 November), Lycoming College (18 November),
Biola University (3 December).

Discussion about The Design Inference. organized by Robert Koons, with Cory Juhl!
and Sahotra Sarkar, University of Texas, Austin. October 1998.

Lecture on Naturalism to the annual meeting of Salem Communications, Dallas, 30
October 1998.

“The Design Inference.” World Congress of Philosophy, Boston, 14 August 1998.

“The Act of Creation: Bridging Transcendence and Immanence.” Millstatt Forum,
Strasbourg, France, 10 August 1998,

Faculty in theology and science at the C. 5S. Lewis International Centennial
Celebration, Loose in the Fire. Oxford and Cambridge Universities, 19 July
to | August 1998.
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“Science, Theology, and Intelligent Design.” Sralev Lectures, Central College, Iowa,
4—5 March 1998. [endowed lectures |

Canadian lecture tour on intelligent design (Simon Fraser University, University of
Calgary, and University of Saskatchewan), sponsored by the New Scholars
Society. 4-6 February 1998.

“Intelligent Design as a Theory of Information.” Naturalism, Theism, and the
Scientific Enterprise. Conference organized by Robert Koons on the
scientific status of intelligent design at the University of Texas at Austin, 20

23 February 1997.

“Redesigning Science.” Presentation at Mere Creation conference.

Organizer with Richard McGee and Paul Nelson of Mere Creation conference on
design and origins at Biola University, 14 ~ 17 November 1996.

PBS's Inside the Law with Jack Ford, program devoted to design and evolution,
featuring William Dembski, Wendell Byrd, Charles Haynes, and Kevin
Padian, taped 13 November 1996.

Organized the Charles Hodge Society and the Princeton Apologetics Seminar at
Princeton Theological Seminary (Unapologetic Apologetics emerged out of
that seminar).

Faculty in theology and science at the C. S. Lewis Summer Institute, Cosmos and
Creation. Cambridge University, Queen’s College, 10-23 July 1994.
Revived, with Richard Gardiner, the Princeton Theological Review at Princeton
Theological Seminary. This journal is still in production:
http://www. pfrenewal org/clients/pfrenewal-org/downloads/publications_ PTRSpring04.pdf

“Theoretical Basis for the Design Inference.” The 48th Annual Meeting of the
American Scientific Affiliation, Seattle Pacific University, 9 August 1993.

Participant and speaker, The Status of Darwinian Theory and Origin of Life Studies,
Pajaro Dunes, California, 22-24 June 1993.

“Transcendent Causes and Computational Miracles.” International Conference on
Science and Belief, Pascal Centre, Ancaster, Ontario, Canada. 11-15
August 1992.

Summer research on design, Cambridge University, sponsored by Pascal Centre
(Ancaster, Ontario, Canada), | July to 4 August 1992

“The Incompleteness of Scientific Naturalism.” Symposium on Darwinism held at
Southern Methodist University, 26-28 March 1992.

“Detecting Design through Small Probabilities.” The 8th Biannual Conference of the
Association of Christians in the Mathematical Sciences, Wheaton College,
30.May 1991 and The 46th Annual Meeting of the American Scientific
Affiliation, Wheaton College. 29 July 1991.

Participant, International Institute of Human Rights in Strasbourg France, 28 June to
27 July 1990.

“Truth i an Age of Uncertainty and Relativism.” Dom. Luke Child’s Lecture,
Portsmouth Abbey School, 30 September 1988. [endowed lecture]
